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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 ROBERT JONES,

        Plaintiff,                                   Civil Action No. 18-503

 v.                                                  Section H
                                                     Judge Jane Triche Milazzo
 LEON CANNIZZARO, JR., in his official
 capacity; ABC INSURANCE COMPANIES                   Division 2
 1–10,                                               Magistrate Judge Joseph Wilkinson, Jr.

        Defendants.


         MOTION FOR PARTIAL SUMMARY JUDGMENT CONCERNING
      ALLEGED BRADY VIOLATIONS IN CASES RESOLVED BY GUILTY PLEA

       Leon Cannizzaro, Jr. (in his official capacity as Orleans Parish District Attorney

(“OPDA”)), through undersigned counsel, respectfully requests entry of partial summary judgment

under Federal Rule of Civil Procedure 56, holding that there was no unconstitutional suppression

of Brady evidence (i.e., no Brady violation) by any OPDA prosecutor relating to the four crimes

for which Robert Jones pleaded guilty. As explained further in the accompanying memorandum,

it has been “settled precedent” in the Fifth Circuit for at least 19 years that “there [is] no

constitutional right to Brady material prior to a guilty plea.” Alvarez v. City of Brownsville, 904

F.3d 382, 392 (5th Cir. 2018) (en banc). Accordingly, because Mr. Jones could not have suffered

any Brady violation in connection with his prosecution for the four crimes for which he pleaded

guilty, OPDA is entitled to partial summary judgment.




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                                                /s/ Matthew J. Paul
Robert L. Freeman, Jr., 21596                   Richard C. Stanley, 8487
Donna R. Andrieu, 26441                         W. Raley Alford, III, 27354
Office of the District Attorney,                Matthew J. Paul, 37004
Parish of Orleans                               STANLEY, REUTER, ROSS, THORNTON
619 South White Street                            & ALFORD, LLC
New Orleans, Louisiana 70119                    909 Poydras Street, Suite 2500
Telephone: (504) 822-2414, ext. 2877            New Orleans, Louisiana 70112
Facsimile: (504) 827-6393                       Telephone: (504) 523-1580
                                                Facsimile: (504) 524-0069
Thomas J. Barbera, 18719                        rcs@stanleyreuter.com
4645 Carthage Street                            wra@stanleyreuter.com
Metairie, Louisiana 70002                       mjp@stanleyreuter.com
Telephone: (504) 931-0662

                   Counsel for Leon Cannizzaro (in his official capacity
                          as Orleans Parish District Attorney)




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